                                   UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE
                                   CRIMINAL MINUTES - JURY TRIAL
                                             June 10, 2021

  United States of America vs. Anming Hu      Case No.          3:20-CR-21

  PRESENT before the Honorable Thomas A. Varlan, United States District Judge

                      Julie Norwood                                            Terri Grandchamp
                     Courtroom Deputy                                           Court Reporter

           Casey Arrowood, Matthew McKinsey                          A. Philip Lomonaco
                   Asst. U.S. Attorney                                       Counsel for Defendant

  PROCEEDINGS: Day 3

  •       Impaneled jury present: 102; 51; 55; 98; 32; 243; 271; 44; 136; 101; 97; 6; 34; 119
  •       Witnesses sworn
  •       Rule of sequestration envoked
  •       Introduction of evidence for USA resumed
  •       Case continued to Thursday, June 10, 2021 at 9:00 a.m. for further trial.




  9:00 a.m. to 12:20 p.m.
  1:35 p.m. to 4:40 p.m.




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